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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

Carol A. Wilson, et al                         )    Case No.: 2:16-cv-1084
                                               )
        Plaintiffs,                            )    Chief Judge Edmund A. Sargus
                                               )
vs.                                            )    Magistrate Judge Kimberly A. Jolson
                                               )
Chagrin Valley Steel Erectors, Inc.,           )
                                               )
        Defendant/Third Party Plaintiff,       )
                                               )
vs.                                            )
                                               )
Justin M. Helmick,                             )
                                               )
        Third-Party Defendant.                 )

      CAROL A. WILSON, ET AL., PLAINTIFFS, AND THIRD-PARTY DEFENDANT
            JUSTIN HELMICK’S MOTION FOR SUMMARY JUDGMENT

        Plaintiffs Carol A. Wilson and the Trustees of the Ohio Operating Engineers Health and

Welfare Plan, the Ohio Operating Engineers Pension Fund, the Ohio Operating Engineers

Education and Training Fund, and the Ohio Operating Engineers Apprenticeship Fund (the

“Funds”) move the Court, pursuant to Rule 56 of the Federal Rules of Civil Procedure, for

summary judgment in their favor and against Defendant Chagrin Valley Steel Erectors, Inc.

There exists no genuine issue as to any material fact in this case, and the Funds are entitled to

judgment on all claims in the Complaint. The Funds and Third-Party Defendant Mr. Justin

Helmick are also entitled to summary judgment on both claims asserted against them by Chagrin

Valley Steel Erectors, Inc.


                                            Respectfully submitted,

                                            /s/Daniel J. Clark
                                            Daniel J. Clark (0075125), Trial Attorney
                                            Elizabeth B. Howard (0092585)
                                            Vorys, Sater, Seymour and Pease LLP
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
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Carol A. Wilson, et al                            )   Case No.: 2:16-cv-1084
                                                  )
       Plaintiffs,                                )   Chief Judge Edmund A. Sargus
                                                  )
vs.                                               )   Magistrate Judge Kimberly A. Jolson
                                                  )
Chagrin Valley Steel Erectors, Inc.,              )
                                                  )
       Defendant/Third Party Plaintiff,           )
                                                  )
vs.                                               )
                                                  )
Justin M. Helmick,                                )
                                                  )
       Third-Party Defendant.                     )

                            MEMORANDUM IN SUPPORT OF
                           MOTION FOR SUMMARY JUDGMENT

I.     INTRODUCTION

       Plaintiffs are the Administrator and Trustees of the Ohio Operating Engineers Health and

Welfare Plan, the Ohio Operating Engineers Pension Fund, the Ohio Operating Engineers

Education and Safety Fund, and the Ohio Operating Engineers Apprenticeship Fund (the

“Funds”).     The Funds are jointly-administered, multiemployer fringe benefit programs

established for the benefit of employees of contractors who perform work pursuant to an

agreement with the International Union of Operating Engineers, Local Nos. 18, 18A and 18B (the

“Union”). The Administrator of the Funds is Plaintiff Carol A. Wilson. The Funds provide

health and welfare, retirement, and other fringe benefits to their beneficiaries.

       Pursuant to collective bargaining agreements entered into with the Union, Defendant

Chagrin Valley Steel Erectors, Inc., (“Chagrin Valley”) is obligated to make fringe benefit
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contributions to the Funds on behalf of its employees. The Funds’ field auditor audited Chagrin

Valley’s payroll records on October 31, 2016 and determined that Chagrin Valley had failed to

pay a significant amount of fringe benefit contributions owed under the collective bargaining

agreements. Compl. ¶¶ 6–7, ECF No. 1; Aff. of Carol A. Wilson ¶ 6.1 The Funds filed suit

under the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1132(a)(3) &

1145 to recover these unpaid contributions. Compl. ¶ 1, ECF No. 1. Chagrin Valley then

asserted various claims against the Funds and Mr. Justin Helmick, employee and field

representative of the Funds.            These include counterclaims against the Funds for breach of

contract and declaratory judgment, Chagrin Valley’s Second Amended Counterclaim & Second

Amended Third-Party Compl. ¶¶25–28 & ¶¶29–34, ECF No. 29. Chagrin Valley further asserted

claims of defamation and tortious interference with business relations against the Funds and Mr.

Helmick. Id. ¶¶35–38 & ¶¶39–43.

           The Funds request that the Court grant summary judgment in their favor and order

Defendant Chagrin Valley Steel Erectors, Inc. to pay all contributions due under the collective

bargaining agreements as well as all other relief pled in the Funds’ Complaint. The Funds and

Mr. Helmick further request that the Court grant summary judgment in their favor as to all of

Chagrin Valley’s claims.

II.        STATEMENT OF FACTS

           A.       The Fringe Benefit Funds

           The Funds are jointly-administered, multiemployer fringe benefit programs established

for the benefit of employees of contractors who perform work pursuant to collective bargaining

agreements with the Union (the “CBA”). Plaintiff Carol A. Wilson is the Administrator of the


1
    The Affidavit of Administrator Carol A. Wilson is attached hereto as Exhibit A.


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Funds. Aff. of Carol A. Wilson ¶ 1. The Funds are third-party beneficiaries to the CBA. The

Funds rely upon employer contributions to provide pension, health and welfare and other fringe

benefits to employees and operating engineers working for these signatory contractors.

         B.       Chagrin Valley Steel Erectors, Inc.

         Defendant Chagrin Valley Steel Erectors, Inc. is a business performing work in the

construction industry. On April 23, 2012, Chagrin Valley entered into a collective bargaining

agreement with the Union by signing a one-page Interim Construction Employers Association

Agreement. This one-page obligates Chagrin Valley, as a signatory, to comply with all the terms

of the Construction Employers Association Building Agreement between the Construction

Employers Association and the Union.                Compl. Ex A at 1, ECF No. 1; Wilson Aff. ¶ 2.

Specifically, the interim agreement states that the “undersigned employer . . . does hereby agree

to adopt, accept and become signatory to the CEA Building collective bargaining agreement

between the Construction Employers Association and the International Union of Operating

Engineers, Local 18 and its Branches.” Compl. Ex A at 1, ECF No. 1; Wilson Aff. ¶ 2. Victoria

Ruple, President of Chagrin Valley, subsequently signed a State of Ohio Short Form Building

Construction Agreement on June 20, 2012 that also obligated Chagrin Valley to adopt and accept

all the terms of the CBA. Deposition of Victoria Ruple, p. 14 ln. 15;2 see also Compl. Ex. A. at

2; Wilson Aff. ¶ 2. That short form agreement further required Chagrin Valley “to make

contributions to the Health and Welfare Fund, Pension Fund, Apprenticeship Fund, and Safety

Training and Education Trust Fund as outlined in said CEA Building Agreement.” Compl. Ex.

A. at 2; Wilson Aff. ¶ 2. Ms. Ruple stated that Chagrin Valley signed on to the CBA because the


2
  The full text of Ms. Ruple’s deposition dated July 19, 2017 is attached hereto as Exhibit B. This deposition will be
referenced throughout this Motion as “Ruple Deposition.”



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company had purchased a crane and required an operating engineer to operate it.                             Ruple

Deposition, p.25 ln. 2–11. Although she signed the CBA on that date, Ms. Ruple did not read it

before accepting its terms and in fact has not read the CBA to date. Ruple Deposition, p.16 ln.

11–13.3

        The CBA requires signatories to make contributions based on all hours paid to employees

who perform any covered work. Specifically, the CBA provides:

                 Fringe benefit contributions shall be paid at the following rate for all
                 hours paid to each employee by the Employer under this Agreement
                 which shall in no way be considered or used in the determination of
                 overtime pay. Hours paid shall include holidays and reporting hours
                 which are paid.

Ex. 1 to Wilson Aff., ¶39 (emphasis added).4 This language has remained unchanged in the CBA

for decades and has been consistently held by this Court, and most recently by the Sixth Circuit,

as requiring contributions be paid based upon all hours paid to the employees. See, e.g., Bunn

Enters. v. Ohio Operating Eng’rs Fringe Benefit Programs, 606 Fed. App’x 798, 804 (6th Cir.

2015) (“Accordingly, we find that the CBA unambiguously requires employer signatories to

contribute the appropriate benefits contributions for all hours worked by their employees,

regardless of whether those hours are ‘covered’ under the contract.”).

        Chagrin Valley hired operating engineers through the Union and paid some fringe

benefits to the Funds. Chagrin Valley self-reported these hours through weekly reports submitted


3
  The fact that Ms. Ruple has not read the CBA is not a defense to owing contributions. See, e.g., Wilson v. Bridge
Overlay Systems., 129 F. Supp 3d 560, 572 (S.D. Ohio 2015) (stating that failure to read or receive the CBA was not
a defense to owing delinquent contributions because “[i]t will not do for a man to enter into a contract, and, when
called upon to respond to its obligations, to say that he did not read it when he signed it, or did not know what it
contained. If this were permitted, contracts would not be worth the paper on which they are written. But such is not
the law. A contractor must stand by the words of his contract; and, if he will not read when he signs, he alone is
responsible for his omission.” (citations omitted)).
4
 The full text of the 2012-2015 Building Construction Agreement is attached to the Wilson Affidavit as Exhibit 1.
The full text of the 2015-2019 Building Construction Agreement is attached to the Wilson Affidavit as Exhibit 2.



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to the Funds.     Related to this Action, Chagrin Valley reported on and made some fringe

contributions for operating engineers Daniel Pritchard, Anthony Urch and Patrick Ritchie. Ruple

Deposition, p.26 ln. 6 (explaining that Chagrin Valley had made contributions for Daniel

Pritchard, Anthony Urch and Patrick Ritchie based on hours they worked operating a crane).

       As stated by Ms. Ruple, Chagrin Valley has consistently only made contributions to the

Funds for hours worked by employees performing covered work in direct contradiction to the

plain terms of the CBA:

                Q: Do you know how the amount of contributions are calculated?

                A: It’s based on their [the employees’] hours.

                Q: What hours?

                A: Based on their hours worked to the Union.

                ...

                Q: [Reading from a December 16, 2013 letter from Chagrin Valley’s legal counsel
                to the Union’s legal counsel] “With regard to the three family members, very little
                of their actual time is involved in operating a crane. The majority of their time is
                on the shop floor doing maintenance repair work and/or fabricating steel.” Do
                you know whether or not Chagrin Valley made contributions to the Fringe Benefit
                Funds for those three family members for their time spent doing maintenance
                repair work?

                A: I would have to check my records.

                Q: Would it – was it your [Chagrin Valley’s] practice to make fringe benefit
                contributions for all hours that were paid to the employees, or just for their time
                spent operating a crane?

                A: Just their time spent operating the cranes.


       Ruple Deposition, pp. 26–28.       Thus, it was Chagrin Valley’s practice to self-report

contributions only on hours paid to employees where the employee is performing covered work

(like operating a crane).


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       C.      The Funds’ Audit Revealed Unpaid Contributions.

       The CBA requires signatories to pay fringe benefit contributions to the Funds based upon

all hours paid to employees who perform work covered by the CBAs, i.e., the work of an

operator. Wilson Aff. ¶ 2; CBA¶¶ 37–44. The Funds conduct periodic audits to insure that

signatories are making these contributions as required by the CBA.

       The Funds conducted an audit of Chagrin Valley’s payroll records on October 31, 2016.

Compl. ¶ 6, ECF No. 1; Wilson Aff. ¶ 6. Ms. Ruple was present for the audit and provided

records to the auditor. Ruple Deposition, p. 29, ln. 17–19. Ms. Ruple provided the auditor with

payroll and earnings records so that he could compare hours Chagrin Valley had reported to the

Funds with all hours Chagrin Valley had actually paid to those employees. Ruple Deposition, pp.

30–31. The audit covered the period of August 1, 2015 to October 1, 2016. Compl. ¶ 8, ECF

No. 1; Wilson Aff. ¶ 6. Ms. Ruple stated that these payroll and earnings records were true and

accurate. Ruple Deposition, p. 31, ln. 5–9.

       The auditor compared the hours paid to employees on Chagrin Valley’s payroll records

with the number of hours that Chagrin Valley reported to the Funds. Wilson Aff. ¶ 6. The audit

demonstrated that there were a significant number of hours paid to operators during the audit

period for which contributions had not been made. Compl. ¶¶ 12, 17, 22 and 27, ECF No.1;

Wilson Aff. ¶ 6.

III.   LAW AND ARGUMENT

       A.      Standard of Review.

       Federal Rule of Civil Procedure 56 provides, in relevant part, that summary judgment is

appropriate if the movant shows that there is no genuine issue as to any material fact and the

moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56. A fact is deemed


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material only if it “might affect the outcome of the lawsuit under the governing substantive law.”

Wiley v. United States, 20 F.3d 222, 224 (6th Cir. 1994) (citing Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 247–48 (1986)). The nonmoving party must then present “significant probative

evidence” to show that “there is [more than] some metaphysical doubt as to the material facts.”

Moore v. Philip Morris Cos., Inc., 8 F.3d 335, 339–40 (6th Cir. 1993). The suggestion of a mere

possibility of a factual dispute is insufficient to death a motion for summary judgment. See

Mitchell v. Toledo Hospital, 964 F.2d 577, 582 (6th Cir. 1992) (citing Gregg v. Allen-Bradley

Co., 801 F.2d 859, 863 (6th Cir. 1986)).

       B.      Fringe Benefit Contributions Are Due to the Funds Based on All Hours Paid
               to Chagrin Valley’s Operators.

               1.      The Funds are contractually and statutorily entitled to the delinquent
                       contributions.

       Chagrin Valley is contractually and statutorily obligated to make contributions to the

Funds for all hours paid to Chagrin Valley’s operators. The Funds seek delinquent contributions

owed pursuant to the CBA and ERISA sections 502 and 515. The Funds are entitled to recover

from Chagrin Valley said delinquent contributions as well as other remedies provided for in the

CBA and under ERISA, including interest, statutory interest under ERISA section 502(g),

reasonable attorneys’ fees, and other costs.

               First, Chagrin Valley is contractually obligated to pay any delinquent

contributions pursuant to the CBA. Defendant became a signatory to the CBA on April 23, 2012

when it executed a one-page Interim Construction Employers Association agreement.             See

Compl. Ex. A at 1, ECF No. 1; Wilson Aff. ¶ 2. The one-page Construction Agreement states

that “[Chagrin Valley Steel Erectors, Inc.] does hereby adopt, accept and become signatory to the

CEA Building collective bargaining agreement between the Construction Employers Association


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and the [Union].” Compl. Ex. A. at 1, ECF No. 1. The one-page agreement goes on to state that

Defendant agrees to “be bound to the newly negotiated agreement and to pay without exception

all newly negotiated CEA increased wages, fringes and other terms retroactive to May 1, 2012.”

Compl. Ex. A. at 2.     The one-page Short Form Building Construction Agreement contains

similar language: “The Company further agrees to make contributions to the Health and Welfare

Fund, Pension Fund, Apprenticeship Fund and Safety Training and Educational Trust Fund as

outlined in said CEA Building Agreement.” Compl. Ex. A. at p. 2 ¶ 3, ECF No. 1. Thus, by

signing the CBA, Chagrin Valley became contractually bound to the fringe benefits contribution

requirements in the CBA.

       The CBA expressly requires signatory employers to make contributions to the Funds

based on all hours paid to covered employees. The CBA provides:

              Fringe benefit contributions shall be paid at the following rates for all
              hours paid to each employee by the Employer under this Agreement which
              shall in no way be considered or used in the determination of overtime
              pay. Hours paid shall include holidays and reporting hours which are paid.

       CBA at ¶ 39. This language requires signatories to make contributions based upon all

hours paid to employees. Bunn Enters., Inc. v. Ohio Operating Eng’rs Fringe Benefit Programs,

Case No. 14-3255, 606 F. App’x 798 (6th Cir. 2015). In Bunn, the Sixth Circuit held that this

exact language “unambiguously requires employer signatories to contribute the appropriate

benefits contributions for all hours worked by their employees, regardless of whether those hours

are ‘covered’ under the contract.” Id. at 804; see also Wilson v. Bridge Overlay Systems, Inc.,

129 F. Supp. 3d 560, 576–77 (S.D. Ohio Sept. 15, 2015) (citing Bunn).

       In reaching its holding in Bunn, the Sixth Circuit relied upon and affirmed decades of

precedent in the Southern District of Ohio. For example, in Orrand v. Shope, the Court noted




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that it had on several occasions “construed the exact language at issue here,” and “ha[d]

consistently reached the . . . conclusion” that the obligation of the employer to make fringe

benefit contributions “extends to all hours paid.” Orrand v. Shope, No. 2:00-CV-1161, 2001 WL

1763437, at *3 (S.D. Ohio Jan. 30, 2001) (Sargus, J.). The Court reasoned that the language of

the CBA strongly supported this interpretation, as it requires contributions to be made for “all

hours paid to each employee by the employer, without making a distinction between hours paid

for covered employment and hours paid for other work.” Id. at *2. This Court further explained

that the benefits to a union and to trust funds from such language is “obvious, since if an

employer were entitled to reduce the amount of benefits paid based on hours spent in non-

covered work, and if the employer were the sole arbiter of what type of work was performed, and

its records the only source of that information, it would be “exceedingly difficult for a fund to

dispute an employer’s allocation of hours between covered and non-covered work, and it would

therefore be possible for an employer to skew its records in such a way as to minimize its

contributions.”   Id.   This interpretation, then, reduces or even eliminates the “ability to

manipulate the facts,” and simplies the audit process. Id.

       As stated by Ms. Ruple, Chagrin Valley clearly was not making contributions as required

by the CBA. Chagrin Valley was making contributions only for covered work, not for all hours

paid to its employees.     Ruple Deposition, p. 26–28.       This practice not only violates the

unambiguous language of the CBA, but it also violates decades of precedent interpreting that

unambiguous language. Because there is no question of fact as to this contractual issue, this

Court should rule for the Funds and order Chagrin Valley to pay all delinquent contributions as

required by the CBA.




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               2.      Chagrin Valley Also Has a Statutory Obligation To Make Fringe Benefit
                       Contributions and To Pay Interest and Liquidated Damages.

       In addition to its obligation under the CBA, Chagrin Valley has a statutory obligation

pursuant to 29 U.S.C. § 1145 to make the fringe benefit contributions at issue in this case.

Section 1145 (ERISA § 515) creates a statutory obligation for participating employers to make

fringe benefit contributions in accordance with the terms and conditions of the plans or collective

bargaining agreements by which they are obligated to multi-employer fringe benefit funds. It

provides as follows:

               Every employer who is obligated to make contributions to a multi-
               employer plan under the terms of the plan or under the terms of a
               collectively bargained agreement shall, to the extent not inconsistent with
               law, make such contributions in accordance with the terms and conditions
               of such plan or such agreement.

       See 29 U.S.C. § 1145. Thus, once Chagrin Valley’s contractual obligation to the Funds

became effective, Chagrin Valley assumed not only a contractual obligation but also a duty under

ERISA to make timely and accurate fringe benefit contributions and to otherwise comply with

the terms and conditions of the plans, trusts and collective bargaining agreements.

       This Court has held in similar cases that the trustees for multiemployer funds may recover

delinquent fringe benefit contributions, interest, statutory interest, attorneys’ fees, and court costs

as part of a judgment against a delinquent employer. See, e.g., Orrand v. Scassa Asphalt, Inc.,

794 F.3d 556, 560 (6th Cir. 2015) (affirming district court ruling and ordering employer

signatory to pay statutory delinquent fringe benefit contributions, statutory interest under 29

U.S.C. §§1132(g)(2)(B)–(C), court costs, and attorneys’ fees).

       ERISA requires district courts to award trust funds not only the unpaid contributions, but

also interest on those unpaid contributions, attorneys’ fees, court costs, and an additional amount




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of statutory interest or liquidated damages when they succeed in obtaining a judgment against a

delinquent employer. That section provides as follows:

              In any action under this title by a fiduciary or on behalf of a plan to enforce
              Section 515 in which a judgment in favor of the [Fund] is awarded, the
              court shall award the plan --

              (A)    the unpaid contributions,

              (B)    interest on the unpaid contributions,

              (C)    an amount equal to the greater of --

                     (i)     interest on the unpaid contributions, or

                     (ii)    liquidated damages provided for under the plan in an
                             amount not in excess of 20 percent (or such higher
                             percentage as may be permitted under Federal or State law)
                             of the amount determined by the court under subparagraph
                             (A),

              (D)    reasonable attorneys’ fees and costs of the action, to be paid by the
                     Defendants, and

              (E)    such other legal or equitable relief as the court deems appropriate.

              For purposes of this paragraph, interest on unpaid contributions shall be
              determined by using the rate provided under the plan, or, if none, the rate
              prescribed under Section 6621 of the Internal Revenue Code of 1986.

29 U.S.C. § 1132(g) (emphasis added). Thus, this section mandates that the Funds be

awarded, in addition to delinquent contributions, the following additional categories of

damages:

              (1)    reasonable attorneys’ fees;

              (2)    costs of the action;

              (3)    interest on the unpaid contributions at the rate provided for in the
                     plan documents; and




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                    (4)      the greater of liquidated damages (called “late charges” by
                             Plaintiffs) in an amount specified in the employee benefit plan not
                             in excess of 20% of the unpaid contributions (Plaintiffs use 18%
                             for late charges) or interest on the unpaid contributions.

           Accordingly, the Funds are entitled, in addition to an award of delinquent contributions

and interest, to a statutory award of the greater of interest or liquidated damages. The Funds

require all employers to pay late charges, or liquidated damages, for their delinquent

contributions at a rate of 18% per year. Wilson Aff. ¶ 4. Because the Funds also charge an 18%

interest rate, this number is the same for purposes of the statute.

           Chagrin Valley continued to make some weekly contributions following the assessment

of delinquent contributions during the audit period. These contributions have been applied to

Chagrin Valley’s oldest outstanding balance consistent with the Funds’ policy. Chagrin Valley

has also continued to underpay contributions since the end of the audit period. Chagrin Valley

currently owes delinquent contributions to the Funds in the amount of $60,661.00; interest in the

amount of $11,154.47, calculated to August 9, 2017, plus $13.83 per day thereafter; statutory

interest in the amount of $11,154.47, calculated to August 9, 2017, plus $13.83 per day

thereafter; plus attorneys’ fees and costs. The Funds seek summary judgment in this amount.5

Wilson Aff. ¶ 6.

           C.       Chagrin Valley’s Conduct Entitles the Funds to Injunctive Relief

           In her deposition, Ms. Ruple stated that Chagrin Valley continues to pay contributions to

the Funds only for covered work instead of for all hours paid:

                    Q: How about for anybody other than Tony Urch , is that – is Chagrin Valley
                    making contributions for only their hours spent operating equipment?

                    A: Yes.

5
    The Funds will seek attorneys’ fees and costs pursuant to a post-judgment motion. 29 U.S.C. § 1132(g)(2).



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                 Q: And has that been your consistent practice from the time that you first entered
                 into a collective bargaining agreement through today, with the exception of Mr.
                 Urch?

                 A: As far as I know, yes.

Ruple Deposition, p. 27–28 (emphasis added).6 Chagrin Valley has continued to underpay

contributions from the end of the audit period through the present date. The Funds respectfully

request the Court to grant injunctive relief: (a) to require Chagrin Valley to submit to an

additional audit for the time period of October, 2016 through the date a decision is rendered and

to pay all delinquent contributions revealed by that audit; and (b) to order Chagrin Valley to

make contributions to the Funds for all hours paid from the date of judgment forward.

        “Courts should not be grudging with respect to the entry and scope of injunctive relief

under a statute where Congress expressly authorized it.” United States v. City of Parma, 504 F.

Supp. 913, 917 (N.D. Ohio). In Laborers Fringe Benefit Funds - Detroit & Vicinity v. Northwest

Concrete & Constr. Inc., 640 F.2d 1350 (6th Cir. 1981), the Sixth Circuit held that under the

plain language of Section 502(a)(3) of ERISA, the trustee of an employee benefit plan was

entitled to an injunction preventing a recalcitrant employer from failing to comply with benefit

payment provisions of a labor agreement in light of the fact that evidence indicated that: the

employer was likely to continue to withhold employee benefit contributions from the plan; that

continued violations of labor agreements and ERISA would irreparably injure the benefits plan,

and that permanently enjoining the employer from such violations did not contravene public


6
  In the errata sheet completed by Ms. Ruple following her deposition, she attempted to alter this cited testimony by
converting her “Yes” to a “No.” See Ruple Deposition Errata Sheet, attached hereto as Exhibit C. This substantive
change is not permitted under Rule 30(e) of the Federal Rules of Civil Procedure and the errata sheet should be
stricken. See, e.g., McClendon v. Hightowers Petroleum Co., 2016 U.S. Dist. LEXIS 64248, at *3 (S.D. Ohio May
16, 2016) (“Rule 30(e) does not allow one to alter what was said under oath. Were that the case, one could merely
answer the questions with no thought at all, then return home and plan artful responses. Depositions differ from
interrogatories in that regard. A deposition is not a take home examination.” (quoting Trout v. FirstEnergy
Generation Corp., 339 Fed. App’x 560, 565 (6th Cir. 2009))).


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policy. The court observed that other federal courts have granted injunctive relief under Section

502 to participants and beneficiaries under ERISA to enjoin employers from refusing to comply

with employee fringe benefit contribution provisions of labor agreements. See, e.g., Operating

Engineers Central Pension Fund v. Joski Construction Co. Inc., 441 F. Supp. 849 (E.D. Wis.

1977).

         Chagrin Valley’s conduct warrants the finding that it will continue to withhold

contributions from the Funds. Specifically, at her deposition in July of 2017, President Victoria

Ruple admitted that Chagrin Valley continues to make contributions only for hours spent

performing covered work. Ruple Deposition, p. 27–28. Chagrin Valley’s wanton disregard for

its obligations is obvious. Ms. Ruple acknowledged at her deposition — after months of

litigation with the Funds — that she still has not read the CBA. Nonetheless, she insists that she

has been making payments correctly under its terms. Thus, it is highly probable that absent a

Court order Chagrin Valley will continue to avoid its contractual obligations.

         Continued violations of the CBA will irreparably injure the Funds and the public. Other

union contractors that pay contributions to the Funds in a timely manner are placed at a

competitive disadvantage to Chagrin Valley, which has the benefit of being a union contractor

while not bearing the same burden to provide fringe benefits to its employees.     Finally,

permanently enjoining Chagrin Valley from violations of the relevant provisions of the CBA

would not contravene public policy. Chagrin Valley has the option to terminate the CBA. As

long as it take the benefits of the CBA it must also meet the obligations that go with it.

         The Audit Period for which judgment is sought ended on October 1, 2016. Wilson Aff. ¶

6. Chagrin Valley has not reported to the Funds all hours paid to its operators after the end of

the Audit Period. Contributions are due and owing to the Funds for the unknown number of


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hours worked October 2, 2016 through the present. Accordingly, the Funds request that the

Court order Chagrin Valley to report to the Funds all hours paid to all of its employees who

operated a crane (or performed other covered work) from October 1, 2016 through the present.

The Funds further request that Chagrin Valley be required to pay contributions with interest and

statutory interest to the Funds based upon those same hours.7 Chagrin Valley should further be

permanently enjoined from violating the CBA.

           D.       Chagrin Valley’s Claims Against the Funds and Mr. Helmick Fail as a
                    Matter of Law.

                    1.       Counts One and Two Fail Because They are Preempted by ERISA.

           Counts One and Two against the Funds are preempted by ERISA and therefore fail as a

matter of law. Count One is a breach of contract claim alleging that the Funds “failed to perform

and satisfy [their] contractual obligations under the [collective bargaining] Agreements.” Second

Amended Counterclaim & Second Amended Third Party Compl., ECF No. 29, at ¶ 247. That

Count alleges that the Funds failed to meet their obligations under the CBA by failing to properly

calculate benefits due; failing to properly audit Chagrin Valley’s payroll records; failing to

properly communicate audit findings; and failing to apply contributions correctly. Id. ¶ 24.

Count Two seeks declaratory judgment that Chagrin Valley does not owe delinquent

contributions to the Funds pursuant to the CBA. Id. ¶ 30. However, because the Funds are

employee benefit plans subject to ERISA, and because Carol Wilson and the Trustees are

fiduciaries of these employee benefit plans, Chagrin Valley’s claims are preempted by ERISA.

The Funds’ arguments are set forth in its Partial Motion to Dismiss, ECF No. 30, and its Reply to

Chagrin Valley’s Response in Opposition to its Partial Motion to Dismiss, ECF No. 33.



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    In ordering this relief, the Funds will avoid the cost and delay associated with initiating new litigation to collect


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                  2.       The Funds are not a Party to the CBA.

         To prevail on a breach of contract claim, Chagrin Valley must show the existence of a

contract with the Funds. No such contract exists. The Funds are not a party to the CBA. Counts

One and Two fail on this basis, as well.


                  3.       Chagrin Valley’s Defamation Claim Against the Funds and Mr. Helmick
                           Fails Because the Communication was Both True and Privileged.

         Under Ohio law, the elements of defamation are: (1) the defendant made a false and

defamatory statement; (2) that the false statement was an unprivileged publication to a third

party; (3) that the defendant acted with the required degree of fault; and (4) actionability or

special harm caused by the statement. Hout v. City of Mansfield, 550 F. Supp. 2d 701, 747

(N.D. Ohio 2008) (citing Hahn v. Kotten, 43 Ohio St. 2d 237 (Ohio 1975)). As a preliminary

matter, Count Three merely states that “Helmick . . . made false, defamatory, and disparaging

statements about Chagrin Valley relative to its allegedly delinquent contributions           Second

Amended Counterclaim & Second Amended Third-Party Compl., ECF No. 29, at ¶ 17. A

defamation claim fails as a matter of law to the extent it does not actually reference specific false

comments published by the defendant. See, e.g., Gilreath v. Plumbers, Pipefitters, & Serv.

Technicians Local 502, 2010 U.S. Dist. LEXIS 142471, at *10–14 (S.D. Ohio, Aug. 30, 2010)

(dismissing defamation claim on motion to dismiss when complaint failed to identify the

statements or evidence of their falsity). Because Chagrin Valley carries the burden of proof on

its claim, it must do more than merely assert that allegedly defamatory statements were made.

         The only specific statement contained in Chagrin Valley’s Complaint, and the only

statement produced by Chagrin Valley during discovery, is contained in Exhibit B of Chagrin


contributions for hours paid after the Audit Period.


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Valley’s Second Amended Counterclaim and Second Amended Third-Party Complaint.

Specifically, this is an electronic communication from Mr. Helmick to Patrick Smith, Controller

of Infinity Construction Co., Inc. See Second Amended Counterclaim & Second Amended

Third-Party Complaint, ECF No. 29, Ex. B at 2.           As the communication states, Infinity

Construction Co., Inc. is the general contractor “on a project at the Local 18 Richfield Training

Site.” Id. The “Local 18 Richfield Training Site” project is a construction project for the

Apprenticeship Fund, one of the Funds initiating this Action.          Wilson Aff. ¶ 9.       The

communication from Mr. Helmick further states that “Infinity Const. has Chagrin Valley Steel

Erectors Inc. sub-contracting” on that project. Id. Therefore, the only specific communication

referenced in Chagrin Valley’s counterclaim relates to a communication from the Funds to its

own general contractor regarding a project for the Apprenticeship Fund – a project where the

Fund is a customer and Chagrin Valley is performing work as a subcontractor.                  The

communication further attaches a letter setting forth the balance of delinquent contributions

owed. Id.

       First, Mr. Helmick’s communication to Chagrin Valley was not a false statement. As

previously stated, Chagrin Valley is delinquent in making contributions to the Funds. See

Section II.B., supra. In fact, Chagrin Valley has failed to make contributions as required by the

CBA since it first became a signatory to that agreement. Therefore, stating that Chagrin Valley

“is not in good standing” with the Fund office because it is delinquent in making contributions is

not a false statement. Chagrin Valley is delinquent in making contributions to the Funds. Thus,

Chagrin Valley’s defamation claim fails because it cannot establish that Mr. Helmick’s statement

was false.




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       Even assuming that Mr. Helmick’s statement was false (which it is not), the allegedly

false defamatory statement is protected by qualified privilege and thus is only actionable if Mr.

Helmick published the communication with “actual malice.” Chagrin Valley lack evidence of

actual malice on Mr. Helmick’s part. “A qualified privilege is recognized in many cases where

the publisher and the recipient have a common interest, and the communication is of a kind

reasonably calculated to protect or further it.” Hahn v. Kotten, 43 Ohio St. 2d 237, 244 (Ohio

1975). A defendant otherwise protected by a qualified privilege can be held liable only if it is

proven by clear and convincing evidence that he or she acted with actual malice, meaning the

speaker knew the statement was false or acted with reckless disregard as to its falsity. Id. at 237.

In defining what constitutes recklessness in the context of defamation, a defendant’s “mere

failure to verify [the truth of a statement] may constitute negligence but is not sufficient to

support a finding of reckless misconduct” in the absence of evidence that the defendant doubted

the truth of his or her statements. O’Hara v. Board of Educ. Of Brooklyn City Sch. Dist., 72 F.

App’x 311, 314 (6th Cir. 2003).

       Mr. Helmick’s communication to Infinity Construction Co. is protected by qualified

privilege. As conveyed in the communication, Chagrin Valley is a subcontractor on a project

building a training facility for the Apprenticeship Fund. Infinity Construction Co. is the general

contractor on that project.     The Apprenticeship Fund is therefore a customer of Infinity

Construction Co. (and therefore of Chagrin Valley). As a customer, the Funds were entitled to

discuss how work was being performed on their facility and the deficiencies of any

subcontractor. Chagrin Valley alleges only that the Funds communicated this information to the

contractor of their project in relation to a subcontractor on that project. The contractor and

customer would clearly have a common interest — the interest that the work be completed and


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performed according to the terms that had been agreed upon in compliance with the CBA. Mr.

Helmick’s communication properly summarized that interest.                      Based on Chagrin Valley’s

allegations, the allegedly defamatory statement was protected by qualified privilege and thus is

only actionable if the statement was made with actual malice.

        Further, Mr. Helmick’s communication was also privileged because of his role for the

Funds. Mr. Helmick acts as the Funds’ field representative and works with signatory contractors

to assure that they pay any delinquent contributions owed. Wilson Aff. ¶ 8. In that capacity, he

will also work with general contractors (like Infinity) to see if they can be of assistance. This is

beneficial to the general contractor, as well, because the general contractor has an interest in

making sure operating engineers will come to work.8 Thus, Mr. Helmick’s communication was

made in good faith to a party with a common interest in a manner that was limited in scope to the

circumstances.

        Not only was Mr. Helmick’s truthful statement protected by qualified privilege, but

Chagrin Valley must prove sufficient facts to support a finding of actual malice because the

communication at issue regarded a labor dispute.                 Ohio courts impose an “actual malice”

standard on state law defamation claims arising out of labor disputes. See, e.g., Dale v. Ohio

Civil Serv. Employees Ass’n, 57 Ohio St. 3d 112, 114 (Ohio 1991); see also Hout, 550 F. Supp.

2d at 750 (N.D. Ohio 2008) (citing Dale and holding that plaintiffs must establish actual malice

in defamation cases involving labor disputes).            A “labor dispute” is “any controversy over the

terms and conditions of employment or the representation of employees for collective bargaining

purposes, regardless of whether the disputants stand in the relation of employer and employee,


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  Employees whose benefits are not being paid may elect not to work for a delinquent contractor, impacting the work
that contractor is performing.



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and regardless of whether the dispute is subject to the jurisdiction of the National Labor

Relations Board.” Dale, 57 Ohio St. 3d at 116. The Funds are third party beneficiaries of

collective bargaining agreements which set the terms and conditions of employment and require

contributions to the Funds as part of the terms and conditions of employment.                   The

communication at issue was therefore a statement about a dispute with an employer regarding the

terms of a collective bargaining agreement. As a result, Chagrin Valley must prove that Mr.

Helmick made the statement maliciously.

       Chagrin Valley cannot establish that Mr. Helmick acted with actual malice as a matter of

law. The allegedly defamatory statement would only be made with actual malice if Mr. Helmick

knew it was false or acted with reckless disregard of its falsity. It is clear not only that Chagrin

Valley is actually delinquent in making these contributions, but also that the Funds and Mr.

Helmick believed this to be the case. In fact, Chagrin Valley’s Second Amended Counterclaim

& Second Amended Third-Party Complaint explicitly states that “[the Funds] continuously

provided Chagrin Valley with notifications that . . . Chagrin Valley failed to fully pay certain

fringe benefit contributions” pursuant to the CBA. Second Amended Counterclaim & Second

Amended Third-Party Compl., ECF No. 29, at ¶ 12. It is clear that the Funds and Mr. Helmick

believed and represented that Chagrin Valley owed delinquent contributions pursuant to the

CBA. Chagrin Valley has failed to meet its burden on Count Three. It thus fails as a matter of

law.

               4.      Chagrin Valley’s Tortious Interference Claim Also Fails as a Matter of
                       Law.

       In Count Four, Chagrin Valley alleges that the Funds and Mr. Helmick interfered with

contractual and business relations with its “business relationships.”           Second Amended




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Counterclaim & Second Amended Third-Party Compl., ECF No. 29, at ¶ 40. Again, the only

specific relationship Chagrin Valley has produced is Infinity Construction Co. and involves the

same electronic communication discussed above. Chagrin Valley’s claim fails as a matter of law

because it cannot establish that the Funds or Mr. Helmick actually and intentionally thwarted an

existing or potential business relationship or that a business relationship was thwarted at all.

       A claim for tortious interference requires the plaintiff to establish: “(1) the existence or

the prospect of a business relationship; (2) that defendant knew of the plaintiff’s relationship; (3)

that defendant intentionally and materially interfered with the plaintiff’s prospective relationship;

(4) the interference was without justification; and (5) the interference caused the plaintiff to

suffer damages.” Edwards v. Woodforest Nat’l Bank, 2012 U.S. Dist. LEXIS 72974, *9–10

(N.D. Ohio May 24, 2012) (citations omitted). Chagrin Valley lacks evidence to meets its

burden on all but the first two elements of this claim.

       “The basic principle underlying a claim of tortious interference is that when someone

acting without privilege, induces or purposely causes a third party to terminate a business

relationship with another, then that person should be held liable for the harm resulting from the

terminated relationship. Leisure Sys. v. Roundup LLC, 2012 U.S. Dist. LEXIS , at 155948, at

*91 (S.D. Ohio Oct. 31, 2012) (citing A&B-Abell Elevator Co. v. Columbus/Cent. Ohio Bldg. &

Constr. Trades Council, 73 Ohio St. 3d 1, 14 (Ohio 1995)).

       When a tortious interference claim is based on statements that are qualifiedly privileged

under defamation law, the protection afforded those statements as to defamation is equally

applicable to the tortious interference claim.        See Ancestry.com Operations, Inc. v. DNA

Diagnostics Ctr., Inc., 2016 U.S. Dist. LEXIS 97297, at *91 (S.D. Ohio July 26, 2016) (citing

A&B-Abell Elevator Co., 73 Ohio St. 3d at 14). “To succeed on a tortious interference claim in


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such a case, the claimant must clearly and convincingly show that the communication was made

with actual malice.” Id.

       Chagrin Valley has not alleged or presented any facts regarding interference with a

specific third party except for Infinity Construction Co. However, other than baldly asserting that

Funds and Mr. Helmick “interfered” with this third party relationship, it has no evidence to

support this assertion. Nothing in Chagrin Valley’s Second Amended Counterclaim and Second

Amended Third-Party Complaint alleges or provides evidence that any “third-party customer”

terminated a business relationship with Chagrin Valley.        In fact, Ms. Ruple stated in her

deposition that Chagrin Valley finished the job at the Richfield training site. Ruple Deposition,

p. 50 ln. 11–13 (“Q: Did Chagrin Valley complete the work at the Operating Engineers site

assigned to it by Infinity Construction? A: Yes.”). In fact, Chagrin Valley cannot establish that

this communication impacted even its future relationships with Infinity Construction Co. Ms.

Ruple admitted that Infinity Construction Co. is still inviting Chagrin Valley to submit bids on

future work, including invitations by both telephone and in writing. Ruple Deposition, p. 54, ln.

10–26. Thus, Chagrin Valley not only cannot establish interference, but further cannot prove that

it has suffered any damages as a result of Mr. Helmick’s communication.

       Further, as discussed in relation to Chagrin Valley’s defamation claim, the

communication from Mr. Helmick to Infinity Construction Co. was privileged. As a result,

Chagrin Valley must prove that the Funds and Mr. Helmick acted with actual malice. There are

simply no facts to support this requirement. There are therefore no genuine issues of material

fact and Count Four fails as a matter of law.




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                    5.       Mr. Helmick Was Never Served in This Action.

           Mr. Helmick has never been served in this Action. Service was apparently improperly

made on a Justin M. Helmick living in Eastlake, Ohio. Summons Issued as to Justin M.

Helmick, ECF No. 9. Mr. Helmick does not and never has lived in Eastlake, Ohio. See Helmick

Declaration ¶ 3.9

IV.        CONCLUSION

           For the foregoing reasons, the Funds respectfully move the Court to enter summary

judgment against Chagrin Valley Steel Erectors, Inc. in the amount of $60,661.00, plus

accumulated interest charges in the amount of $11,154.47 calculated to August 9, 2017, plus

$13.83 per day thereafter and statutory interest in the amount of $11,154.47 calculated to August

9, 2017, plus $13.83 per day. The interest and statutory interest shall accrue daily as long as the

judgment remains unpaid. The Funds further seek the injunctive relief sought above.

           The Funds and Mr. Helmick further respectfully move the Court to enter summary

judgment dismissing all of the claims asserted against them in Chagrin Valley’s Second

Amended Counterclaim and Second Amended Third-Party Complaint.

                                                        Respectfully submitted,

                                                        /s/Daniel J. Clark
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    Mr. Helmick’s Declaration is attached to this Motion as Exhibit D.



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2017, I electronically filed the foregoing Motion for

Summary Judgment with the Clerk of Court using the EM/ECF system, which will send

notification of such filing to the following:

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